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Attorneys for NexPoint Real Estate Partners,
LLC (f/k/a HCRE Partners, LLC)

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  In re:                                           Chapter 11

  HIGHLAND CAPITAL MANAGEMENT,                     Case N. 19-34054 (SGJ)
  L.P.

                                Debtor.




                                    NOTICE OF APPEAL

           NOTICE IS HEREBY GIVEN THAT, pursuant to 28 U.S.C. § 158(a) and Rules 8002 and

8003 of the Federal Rules of Bankruptcy Procedure, NexPoint Real Estate Partners, LLC (f/k/a

HCRE Partners, LLC) hereby appeals to the United States District for the Northern District of

Texas from the Memorandum, Opinion and Order Granting Highland Capital Management,

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L.P.’s Motion for (A) Bad Faith Finding and (B) Attorneys’ Fees Against NexPoint Real Estate

Partners LLC (F/K/A HCRE Partners, LLC) in Connection With Proof of Claim # 146 [Dkt. Nos.

4038 and 4039] (the “Order”), entered by the United States Bankruptcy Court for the Northern

District on March 5, 2024. A true and correct copy of the Order is attached hereto as Exhibit A.

The parties to the appeal are as follows:

Appellant/Respondent: NexPoint Real Estate Partners, LLC (f/k/a HCRE Partners, LLC)

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Appellee/Movant: Highland Capital Management, L.P.

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Dated: March 18, 2024                       Respectfully Submitted,

                                            REICHMAN JORGENSEN LEHMAN &
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 18, 2024, a true and correct copy of this
document was served electronically via the Court’s CM/ECF system to the parties registered or
otherwise entitled to receive electronic notices in this case.


                                                  / s/ Amy L. Ru h l a nd
                                                  Amy L. Ruhland




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